IN THE UNITED sTATEs DISTRICT COURT
CHS€ 2104-Cr-20FURSIIFM \AEESFPEP@@EHSFIHAQiOé/QW§NESSEE; 01c 2 PHQ€|D 11

 

 

 

WESTERN DIVISION
UNITED STATES OF AMERICA,
ial -` j l m g 9 j "- -
Plaintiff,
`~`-`.» … 1`-§':?‘~;':~\ ‘iiiii:"`;§..i:.‘
v_ cr. NO. 04-20416-Ma`§?‘ `€a;-~‘§-‘§§j ”*S§‘
DERICO BOBBIT,
Defendant.
ORDER ON ARRAIGNMENT

 

This cause came to be heard on 7%£/1,{ 2 ?? d 0 bn The Assistant United States
Attorney appeared on behalf of the government, any the defendant appeared in person and with the
following counsel, Who is retained/appointed;

NAME: joa/m "A/a/wcm_» O'_I”D>

ADDRESS:

 

 

 

TELEPHONE:

 

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, Who is not in custody, may stand on his/her present bond.

 

|/ The defendant, (not having made bond) (being a state prisoner) (being a federal

prisoner) (bein g held Without bond pursuant to BRA of 1984 i, ls remanded fo the custody of the U.S.
Marshal.

»@cc w /{'- Z¢OA/VA/

United States Magistrate Judge

Charges: felon in possession of a firearm
Assistant U.S. Attorney assigned to case: l\/[cMul.len

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The defendant's age is: a? b .

This document entered on the docket sheet in compliance
with Rule 55 and/sr 32(b) FRCrP on 5 '/§ `U~

DISTRICT oUR - WESTRNE D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:04-CR-20416 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

